                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION

GEORGE HOFFMAN,
on behalf of himself and all
others similarly situated,

                      Plaintiff,
       v.                                                   CASE NO. 18-cv-1491

REGAL BELOIT CORPORATION,

                      Defendant.


        ORDER OF DISMISSAL AND ENTRY OF MANDATORY INJUNCTION


       On December 16, 2019, the Parties filed a Joint Motion for Approval of Collective Action

Settlement Agreement, Award of Attorneys’ Fees and Costs, and Entry of Mandatory Injunction

and explained why they believe the settlement agreement reflects a reasonable compromise of the

disputed issues. (ECF No. 35.) The Parties’ Settlement Agreement (“Settlement Agreement”) was

attached to their motion. (ECF No. 35-1.) The Parties agreed that this case has been settled and

that all issues and controversies have been resolved to their mutual satisfaction. The Parties

requested the Court to retain jurisdiction to enforce the terms of their settlement agreement under

the authority of Kokkonen v. Guardian Life Insurance Company of America, 511 U.S. 375, 381-

82 (1994).

       IT IS HEREBY ORDERED:

       1.      The Settlement Agreement (ECF No. 35-1) is fair, reasonable, and reflects a

reasonable compromise of bona fide disputes between the Parties and GRANTS the Parties’ Joint

Motion for Approval of Collective Action Settlement, Award of Attorneys’ Fees and Costs, and

Entry of Mandatory Injunction.




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               2.       The Court finds that Plaintiff’s Counsel’s attorneys’ fees and costs are reasonable

     and fair and grants that request, and awards Hawks Quindel, S.C. $20,000.00 in attorneys’ fees

     and costs.

               3.       The Parties shall comply with the terms of their Settlement Agreement entered. The

     Court orders Defendant Regal Beloit Corporation to make the settlement payments pursuant to the

     schedule in this order.

               4.       Specifically, the Court ENTERS a mandatory injunction requiring Defendant Regal

     Beloit Corporation to pay the Collective Class Members identified below, in the following

     amounts:


                            SERVICE                                     WI LAW         WI LAW
                           PAYMENT        FLSA (W2      FLSA (1099        (W2           (1099           TOTAL
        Name                  (1099)     PAYMENT)       PAYMENT)       PAYMENT)       PAYMENT)         PAYMENT
  Christen, Marcia A                       $202.25        $202.25        $269.67        $134.83          $809.00
     Dahl, Pamela                          $19.93         $19.93          $26.57        $13.29           $79.72
  Dressler, Cynthia K                      $427.90        $427.90        $570.53        $285.27         $1,711.59
  Duberstein, Bruce                        $142.46        $142.46        $189.95        $94.98           $569.86
  Gonzales, Andrew                         $500.24        $500.24        $666.99        $333.49         $2,000.96
   Gonzales, Angela                        $242.21        $242.21        $322.95        $161.48          $968.86
    Haile, Donald                          $258.66        $258.66        $344.88        $172.44         $1,034.63
  Hardwick, Karen K                        $304.07        $304.07        $405.42        $202.71         $1,216.27
  Hoffman, George P          $500.00       $328.87        $328.87        $438.49        $219.25         $1,815.47
  Keys, Demetrius D                        $99.40         $99.40         $132.54        $66.27           $397.61
     Langan, Tom                           $437.91        $437.91        $583.87        $291.94         $1,751.62
Modrzejewski, Joseph A                     $394.40        $394.40        $525.87        $262.93         $1,577.60
  Nofsinger, Todd W                        $287.63        $287.63        $383.51        $191.75         $1,150.52
    Nylund, Marc J                         $69.74         $69.74          $92.99        $46.49           $278.96
    Rave, Maynard                          $357.47        $357.47        $476.63        $238.32         $1,429.89
   Shaw, Marilyn L                         $240.96        $240.96        $321.29        $160.64          $963.86
   Vaughn, Eddie F                         $107.43        $107.43        $143.25        $71.62           $429.74
  Zierfuss, Richard J                      $446.35        $446.35        $595.14        $297.57         $1,785.41
  Gollaz, Emmanuel                          $7.11          $7.11          $9.47          $4.74           $28.42




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       5.      The Court ORDERS Defendant Regal Beloit Corporation to deliver the above

payments to Plaintiff’s Counsel, at the following address, by the end of business on the date in the

above schedule or, if the date above falls on a weekend, the following business day:

       Summer H. Murshid
       Hawks Quindel, S.C.
       222 East Erie Street, Suite 210
       Milwaukee, WI 53201

       6.      By consent of the Parties, the Court shall retain jurisdiction for the sole-purpose of

enforcing the terms of the settlement agreement and the mandatory injunction contained herein.

       7.      Except as provided for in paragraphs 1 through 6 above, this case is dismissed with

prejudice. Each party shall bear its own attorneys’ fees and costs not otherwise provided for the

Settlement Agreement or this order.

       Dated at Green Bay, Wisconsin this 17th day of December, 2019.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach, District Judge
                                                      United States District Court




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